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                             IN THE UNITED STATES DISTRICT COURT
                             FORTHE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DryISION

     UMTED STATES OF AMERICA

                                                             No.4'a3-cp- DqB -D
     SERGIO GUERRERO


                        PLEA AGREEMENT WITH WAIVER OF APPEAL

            SERGIO GUERRERO, the defendant, the defendant's attorney, and the United

     States of America (the government) agree as follows:

          l.       Rights of the defendant: The defendant understands that the defendant

     has the rights:

                       a.    to plead not guilty;

                       b.    to have a trial byjury;

                       c.    to have the defendant's guilt proven beyond a reasonable doubt;

                   d.        to confront and cross-examine witnesses and to call witnesses in the
                             defendant's defense; and


                   e         against compelled self-incrimination.


            2.     Waiver of rights and plea of guilty: The defendant waives these rights
                                                                      |',.ai(}f'4<fi+
     and pleads guilty to the offense alleged in Count One of the    srfrsffifrmatim,
     charging a violation of2l U.S.C. $846, that is, conspiracy to possess with intent to

     distribute.a controlled substance, The defendant understands the nafureand elernents of




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the crime to which the defendant is pleading guilty, and agrees that the factual resume the

defendant has signed is true and will be submitted as evidence.

       3.     Sentence: The minimum and maximum penalties the Court can impose

include:

              a         imprisonment for a period not to exceed twenty (20) years;

              b.        a fme not to exceed $1,000,000, or both a fine and imprisonment;


              c.        a term of supervised release ofnot less than three (3) years, which is
                        mandatory under the law and will follow any term of imprisonment.
                        If the defendant violates the conditions of supervised release, the
                        defend"nt could be imprisoned for the entire term ofsupervised
                        release;


              d.        a mandatory special assessment of$100;


              e.        restitution to victims or to the community, which may be mandatory
                        under the law, and which the defendant agrees may include
                        restitution arising from all relevant conduct, not limited to that
                        arising aom the offense ofconviction alone;

              f.        costs of incarceration and supervision; and


              E         forfeitureofproperty.

      4.      Immigration consequences: The defendant recognizes that pleading

guilty may have consequences with respect to the defendant's immigration status ifthe

defendant is not a citizen of the United States. Under federal law, a broad range of

crimes arc removable offenses. The defendant understands this may include the offerse

to which the defendant is pleading guilty, and for purposes ofthis plea agreement, the

defendant assumes the offense is a removable offense. Removal and other immigration


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consequences are the subject ofa separate proceeding, however, and the defendant

understands that no one, including the defendant's attomey or the district court, can

prcdict to a certainty the effect ofthe defendant's conviction on the defendant's

immigration status. The defendant nevertheless affrms that the defendant wants to plead

guilty regardless of any immig'ation consequences that the defendant's plea of guilty

may entail, even if the consequence is the defendant's automatic removal from the United

States.

          5.     Court's sentencing discretion and ioli: ofthe Guidblines: The defendant

understands that the sentence in this case will be imposed by the Court after consideration

of the United States Sentencing Guidelines. The guidelines arc not binding on the Court,

but are advisory only. The defendant has reviewed the guidelines with the defendant's

attomey, but understands no one can predict with certainty the outcome of the Court's

consideration ofthe guidelines in this case. The defendant will not be allowed to

withdraw the defendant's plea ifthe defendant's sentence is higher than expected. The

defendant fully understands that the actual sentence imposed (so long as it is within the

statutory maximum) is solely in the discretion of the Court.

          6.     Forfeiture of Property: The defendant agrees not to contes! challenge, or

appeal in any way the administrative or judicial (civil or criminal) forfeiture to the United

States ofany property noted as subject to forfeiture in the Indictment/lnformation and in

any bills ofparticulars, or seized or restrained by law enforcement ofiicers during the

investigation(s) related to this criminal cause, including:

          a. Glock, model G 19, 9mm pistol, bearing serial number BFP459;

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       b. a Glock, model Gl9, 9mm pistol, bearing serial number BVKG599;
       c. a Glock , model43X, 9mm pistol, bearing serial number BMHC027;
       d. a Smith & Wesson, model M&P M2.0, 40 caliber pistol, bearing serial number
           NCB2623;

       e. a FNH, FNP-9, 9mm pistol, bearing serial number 618MT07634;
       f. a Glock, model G19X 9mm pistol, bearing serial number BWSX388;
       g. a Glock. model G2l, 45 caliber pistol, bearing serial number DDN230, with attached
           Glock switch;

       h. a Gloclq model G22, 40 caliber pistol, bearing serial number BUGB I 80, with
           attached Glock switch;

The following fircarms seized from Willing Avenue:

    a. a Glock, model l7,9mm pistol, bearing serial number BFNG282;
    b. a Century Arms, model RAS47, 7.62 caliber AK-style pistol, bearing serial number
       RAS47001543;

The following firearms and currency ftom Lamont Street:

   a. a Romarr/Cugir, model micro-Draco, 7.62 caliber AK-style pistol bearing serial number
       PMD-26361;

   b. a Romarrr/Cugir, model micro-Draco, 7.62 caliber AK-style pistol, bearing serial number
       PMD-24195;

   c. a Mossberg, model 500A, 12 gauge shotgun, bearing serial number P65O724;
   d. a Smith & Wesson, model SD40-VE, .40 caliber pistol, bearing serial number FXK0983;
   e. a Glock, model Gl9, 9mm pistol, bearing serial number BKUY524;




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    f. a Glock, model 23, .40 caliber pistol, bearing serial number RKYl55 with anached Glock
        switch;

    g. $6,766.00 in U.S. cunency; and
    h. Ammunition and accessories of the above-referenced firearms.
        The defendant consents to entry of any orders or declarations of forfeiture

 regarding all such property and waives any applicable statutes of limitation, and any

 requirements (including notice of forfeiture) set out in 19 U.S.C. gg 1607-1609; I8

 U.S.C. $$ 981, 983, and 985; the Code ofFederal Regulations; and Rules 11,32.2, and

 43(a) ofthe Federal Rules of Criminal Procedure. The defendant agrees to provide

 truthfirl information and evidence necessary for the goverrunent to forfeit such property.

 The defendant agrees to hold the government, its o{ficers, agents, and employees

 harmless from any claims whatsoever in connection with the seizure, forfeiture, storage,

 or disposal ofsuch property.

        7.        Mandatory special assessment: The defendant agrees to pay to the U.S.

 Dishict Clerk the amount of $I00, in satisfaction of the mandatory specjal assessment in

 this case.

        8.        Defendant's agreement: The defendant shall give complete and tnrthful

 infomration and/or testimony conceming the defendant's participation in the offense of

 conviction. Upon demand, the defendant shall zubmit a personal financial statement

 under oath and submit to interviews by the govemment and the U.S. Probation Office

 regarding the defendant's capacity to satisff any fines or restitulion. The defendant

 expressly authorizes the United States Attomey's Office to immediately obtain a credit



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report on the defendant in order to evaluate the defendant's ability to satisfy any financial

obligation imposed by the Court. The defendant fully understands that any financial

obligation imposed by the Court, including a restitution order and/or the implementation

ofa fine, is due and payable immediately. [n the event the Court imposes a schedule for

payment ofrestitution, the defendant agrees that such a schedule represents a minimum

payment obligation and does not preclude the U.S. Atorney's Oflice from pursuing any

other means by which to satisff the defendant's frrll and immediately enforceable

financial obligation. The defendant understands that the defendant has a continuing

obligation to pay in full as soon as possible any financial obligation imposed by the

Court.

         9.    Government's egreement: The govemment will not bring any additional

charges against the defendant based upon the conduct underlying and related to the

defendant's plea of guilty. The govemment will dismiss, after sentencing, any remaining

charges in the pending lndictrnent/Information. This agreement is limited to the United

States Attomey's Oflice for the Northem District of Texas and does not bind any other

federal, state, or local prosecuting authorities, nor does it prohibit any civil or

administrative proceeding against the defendant or any property.

         10. Violation of agreement: The defendant understands that if the defendant
violates any provision ofthis agreement, or ifthe defendant's guilty plea is vacated or

withdrawn, the govemment will be free from any obligations of the agreement and free to

prosecute the defendant for all offenses of which it has knowledge. ln such even! the

defendant waives any objections based upon delay in prosecution. Ifthe plea is vacated


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or withdrawn for any reason other than a frnding that it was involuntary, the defendant

also waives objection to the use against the defendant ofany information or statements

the defendaDt has provided to the govemment, and any resulting leads.

       I   l.   Voluntary plea: This plea of guilty is freely and voluntarily made and is

not the result of force or threats, or of promises apart from those set forth in this plea

agreement. There have been no guarantees or promises from anyone as to what sentence

the Court will impose.

       12. Waiver of right to appeal or otherwise challenge sentence: The
defendant waives the defendant's rights, confened by 28 U.S.C. g 1291 and 18 U.S.C. $

37 42, to appeal the conviction, sentence, fine and order of rcstitution or forfeiture in an


amount to be determined by the district court. The defendant further waives the

defendant's right to contest the conviction, sentence, fine and order of restitution or

forfeiture in any collatcral proceeding, including proceedings under 28 U.S.C. $ 2241 and

28 U.S.C. g 2255. The defendaat, however, reserves the rights (a) to bring a direct appeal

of (i) a sentence exceeding the statutory maximum punishmen! or (ii) an arithmetic error

at sentencing, (b) to challenge the voluntariness of the defendant's plea of guilty or this

waiver, and (c) to bring a claim of ineffective assistance ofcounsel.

       13. Representation ofcounsel: The defendant has thoroughly reviewed all
legal and fachral aspects of this case with the defendant's attomey and is fully satisfied

with that attorney's legal representation. The defendant has rcceived from the

defendant's attorney explanations satisfactory to the defendant concerning each

paragraph of this plea agreement, each ofthe defendant's rights affected by this


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agreement, and the alternatives available to the defendant other than entering into this

agreement. Because the defendant concedes that the defendant is guilty, and after

conferring with the defendant's attomey, the defendant has concluded that it is in the

defendant's best interest to enter into this plea agreement and all its terms, rather than to

proceed to trial in this case.

        14. Entirety of agreement This document is a complete statement of the
parties' agreement and may not be modified unless the modification is in writing and

signed by all parties. This agreement supersedes any and all other promises,

representations, *6$standings, and agreements that are or were made between the

parties at any time before the guilty plea is entered in court. No promises or

representations have been made by the United States except as set forth in writing in this

plea agreement.




                                 (Continued on the next page)




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       AGREED To AND SIGNED thisptay of                              ,2023.

                                    LEIGHA SIMONTON


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                                  UMTED STATES ATTORNEY



                                                ONTES
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                                  Fort Worth, Texas 76102
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                                  Facsimile:   8 7.252.5455
                                  Laura.mon            .gov




                                   Deputy            Chief


       I have read or had read to me this plea agreement and have carefully reviewed
every part of it with my attomey. I fully understand it and voluntarily agree to it.


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                                                 Date
                                                         lLoZj
Defendant

      I am the defendant's attomey. I have carefully reviewed every part ofthis plea
agreement with the defendant. To my knowledge and belief, my client's decision to enter
into this p lea agreement is an informed and voluntary one.


                                                     a a0n3
          FERNAND                         Date
Attomey for




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